Case 2:O4-Cv-O2075-.]PI\/|-tmp Document 22 Filed 05/25/05 Page 1 of 2 Page|D 34

    
 

IN THE UNI'I`ED STATES DISTRICT CO'L§FR_'YD ;_j
FOR 'l`I-IE WESTERN DISTRICT OP` TEN'NESSEE
WES'I'ERN DIVISION …Y/E}.

 
 

STEPHANIE SIMMONS,
Plaintiff/Counter Defendant,
ve. NO. 04-2075 Ml/P

ALLSTATE INSURANCE COMPANY,

-_r-_/-_/~_/~_/-_,»v-._/-._r

Defendant/Counter Plaintiff.

 

ALLSTATE INSUR.ANCE COMPANY ,

Petitioner,
VS.

S'I`EPHANIE SIMIVIONS and
WASHINGTON MUTUAL FINANCE
GROUP, LLC, f/k/a WASHINGTON
BANK, FA,

-~_.--._r-_r-_/\-.__/~_/~_,~_,-_z-_,-_¢-__/

Respondente.

 

ORDER SETTING STATUS CONFERENCE

 

The Court will hold a conference in this matter On Monday,

JulV 25, 2005 at 9:00 a.m. in Courtroom NO. 4.

30 ORDERED THIS Z‘J DAY OF May, 2005.

@W

P. MCCALLA
OITED S'I'ATES DISTRICT JUDGE

 

T'nis document entered on the docke§,§heet In compiianca
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Honorable J on McCalla
US DISTRICT COURT

